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                                                          November 4, 2020

VIA ECF

Hon. Kenneth M. Karas
United States District Judge
Southern District ofNew York
United States Courthouse
300 Quarropas Street, Chambers 533
White Plains, New York 10601-4150

                                          Re: Marie Jean Charles, et al. v. Marquis Home Care, LLC
                                              Civil Case No.: 20-cv-01715 (KMK)

Dear Judge Karas:

                As counsel for the Defendant in the above-referenced matter, we write for all
parties further to the parties ' prior status updates and the Court' s orders (Dkt. 29) to provide a
status update and respectfully request a further modification of the briefing schedule in this matter.
Plaintiffs recently made a new settlement proposal, which included for the first time additional
claimants represented by counsel' s office. Defendant is in the process of responding to that
proposal~including investigation into these newly-asserted claims. The parties respectfully request
a three-week extension of the deadlines to allow the parties to engage in meaningful further
settlement negotiations. The revised proposed deadlines are: December 1, 2020 submission of
Defendant's Rule 12 motion; opposition December 28, 2020; reply January 8, 2021. The parties
thank the Court for its attention to this request and continued attention to this matter.

      Granted.                                            Respectfully submitted,

                                                          JACKSON LEWIS P.C.

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NPT:dc
Enclosure
cc:    Counsel of Record (via ECF)
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